Case 8:15-cv-00192-AEP Document 127-6 Filed 05/02/17 Page 1 of 3 PagelD 1507

Exhibit F
Case 8:15-cv-00192-AEP Document 127-6 Filed 05/02/17 Page 2 of 3 PagelD 1508

Affidavit of Gary Richardson

BEFORE ME, the undersigned authority, personally appeared Gary Richardson, who,
being duly sworn, deposes and says:

1. I am over the age of majority, have firsthand knowledge of the facts set forth in
this affidavit, and know the facts to be true and correct based upon information known by me.

2. On or about September 30, 2008, I entered into an Agreement (the “September 30,
2008 Agreement’) on behalf of myself, and my companies, Life Brokerage Financial Group
(LBFG) and Cardinal Marketing Group (Cardinal) with Life Brokerage Partners (LBP) and
Kevin Bechtel (Bechtel) and the two companies in which Bechtel and I each held a stock
interest, Broker Dealer Services (BDS) and Life Brokerage Equity Group (LBEG).

3. The principal purposes of the Agreement was threefold: (i) to terminate the
Cardinal marketing agreement that had been in force during the prior year between LBP and
Cardinal, (ii) to divest Bechtel of his interest in BDS, and (iii) to set forth the terms for handling
LBEG’s ongoing revenue stream consisting of renewal commissions that were being received
from various insurance companies for business that LBEG had previously conducted.

4, When entering into the September 30, 2008 Agreement, the parties to the
Agreement did not intend for the Agreement to effect or have any impact on either (i) the
insurance business that LBP generated for insurance companies under the agency agreements
LBP executed after Bechtel formed LBP in 2007, or (ii) on the insurance business that LBFG
generated for insurance companies under the agency agreements that LBFG executed after I
formed LBFG in 2007. The September 30, 2008 Agreement was not intended by the parties to
benefit any person or entity other than the parties specifically named in the September 30, 2008
Agreement.

5. As it pertains to LBEG, paragraphs 1, 2 and 7 of the September 30, 2008
Agreement were intended to preserve the continuing revenue stream that was being generated by
LBEG under the operative agency contracts that were still in place between LBEG and various
insurance companies in order ensure that the renewal commissions were preserved and available
to pay LBEG’s expenses, and once those expenses were satisfied, to set forth a formula for
determining distributions to LBEG’s shareholders and for determining the handling of claims
against LBEG in the unlikely event such claims exceeded LBEG’s revenue streams.

6. Attached hereto is a true and correct copy of the contracting documents that
LBFG was required to complete and submit to American General following LBFG’s formation in
2007.

STATE OF FLORIDA
COUNTY OF HILLSBOROUGH

Lhe L/ Fe dtey

«“ GARY RICHARDSON
Case 8:15-cv-00192-AEP Document 127-6 Filed 05/02/17 Page 3 of 3 PagelD 1509

The foregoing Affidavit was sworn to and subscribed before me on this / day of

Ma uy , 2017 by Gary Richardson and [| who is personally known to me or [ ] who

produced as identification.

- GS?
Notary Public, State of Florida

SHEILA F, EXUM
x MY COMMISSION # FF 071534

om Fs * EXPIRES: February 7, 2018
ane ae aS Bonded Thru Budget Notary Services

